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10
                          UNITED STATES DISTRICT COURT
11
                        CENTRAL DISTRICT OF CALIFORNIA
12
                                 WESTERN DIVISION
13
     EDEN FILM PRODUCTION LLC, a               Case Number: 2:24-cv-09851-DDP-SK
14   Delaware corporation,
                                              PLAINTIFF’S RESPONSE IN
15                                 Plaintiff, OPPOSITION TO DEFENDANTS’
                                              MOTION TO DISMISS
16   vs.                                      PLAINTIFF’S COMPLAINT
17   LOCKJAW LLC, a California          Date:      March 24, 2025
     corporation; ASHLEY LYLE, an       Time:      10:00 a.m.
18   individual; BART NICKERSON, an     Courtroom: 9C
     individual; BEER CHRISTMAS,
19   LTD., a California corporation;
     SHOWTIME NETWORKS INC., a
20   California corporation; LIONS GATE
     ENTERTAINMENT, INC., a Delaware
21   corporation; and DOES 1 – 10,
     inclusive,
22
                                 Defendants.
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27
28                                                    Plaintiff’s Response in Opposition to
                                                            Defendants’ Motion to Dismiss
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 1         Plaintiff Eden Film Production LLC responds to Defendants’ (Lions Gate
 2   Entertainment, Inc., Showtime Networks Inc., Beer Christmas, Ltd., Ashley Lyle,
 3   and Bart Nickerson) Motion to Dismiss [ECF No. 27] (“Motion”):
 4                                  I.     INTRODUCTION
 5         1.     Plaintiff brought this case against Defendants because, while watching
 6   their television series Yellowjackets, bells kept going off for each similarity noticed
 7   between Yellowjackets and Plaintiff’s copyrighted film Eden. The show
 8   Yellowjackets is split into two storylines based on two timelines: a “survival”
 9   timeline—described below—and a “current” timeline. Plaintiff found that each
10   scene in the “survival” timeline of Yellowjackets was familiar and followed the
11   same plot as Plaintiff’s film Eden in containing the same original elements, just
12   slightly tweaked. Accordingly, Plaintiff, only discovering such infringement
13   shortly before the expiration of limitations, filed suit. Defendants responded by
14   moving to dismiss.
15         2.     Contrary to Defendants’ assertions, there are strong similarities
16   between Yellowjackets and Eden, indicative of copying. Both works have
17   storylines about a soccer team suffering a plane crash into a remote area on the
18   way to or from a major soccer tournament with a similar subset of survivors
19   (including the head coach’s two children who become love interests for the
20   surviving soccer players) who suffer similar mental issues, split into groups based
21   on an emergent charismatic leader, discover the wreckage or remains of prior
22   expeditions to their remote areas with unusable caches of goods, make life-
23   threatening escape attempts, suffer suicidal behavior and impulses, join in paranoid
24   conspiratorial small groups leading to moral decay, and, before being rescued by
25   an outside force, contemplate/engage in cannibalism.
26         3.     The only differences in the elements noted above between the two
27   works are mere inversions—such as changing the players’ and coach’s children’s
28   genders, changing the crash from occurring after the top-level tournament to
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 1   before, and the desolate area from hot to cold—or other insignificant alterations,
 2   such as the age of the players, exact number of survivors, and time period before
 3   rescue, along with other elements that a full television series like Yellowjackets—
 4   with two timelines, spanning multiple seasons—can include but that a single
 5   feature film cannot. That said, Defendants clearly incorporated the majority of
 6   Eden into Yellowjackets’ “survival” timeline.
 7         4.     In response to Defendants’ Motion, Plaintiff not only “insists that
 8   Defendants’ television series Yellowjackets infringes its copyright on the film
 9   Eden” (Motion, 1:3-4), but also pleaded a protectable selection and arrangement of
10   original elements in Eden that are reproduced in Yellowjackets to such an extent as
11   to be substantially similar. This is evident from Defendants’ Motion.
12         5.     Defendants first describe “Eden [a]s a somber, straightforward
13   survival thriller,” Motion, 3:2, and “Yellowjackets [a]s a survival drama about a
14   New Jersey high-school girls’ soccer team that survives a plane crash in the remote
15   Canadian wilderness. But it is also a darkly comedic psychological thriller and
16   gory mystery-horror,” id. at 4:15-17. Defendants disingenuously minimize their
17   summary of Eden and dismiss it as a straightforward thriller, ignoring Eden’s
18   pleaded “moments of dark humor and witty dialogue,” ECF No. 1 (“Compl.”),
19   8:18-19, and ignoring how the “survival” timeline of Yellowjackets incorporates
20   the same selection and arrangements of elements as Eden.
21         6.     Defendants attempt to brush off all that is common between the works
22   as “an unprotectable premise and a list of misleading, incidental similarities,”
23   Motion, 1:4-6, while failing to cite well-established caselaw about the “selection
24   and arrangement” of elements—which protects “the particular way in which the
25   artistic elements form a coherent pattern, synthesis, or design.” Moonbug Entm’t
26   Ltd. v. BabyBus (Fujian) Network Tech. Co., Ltd., No. 21-CV-06536, 2024 WL
27   2193323, at *9 (N.D. Cal. May 15, 2024) (affirming jury verdict finding defendant
28
                                                   2     Plaintiff’s Response in Opposition to
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 1   liable for copyright infringement). It bears noting that Defendants do not challenge
 2   access in their Motion in focusing solely on substantial similarities.
 3         7.     Plaintiff pleaded numerous similarities between the works that show,
 4   not only a substantial similarity between the works, but also an infringing selection
 5   and arrangement of Eden’s elements within Yellowjackets. Plaintiff pleaded:
 6                A non-exhaustive list of some of the specific scene or dialogue
 7         similarities between each work, without limitation, include:
 8                a.     Champion soccer team’s flight crashes in remote area;
 9                b.     Many players die in the plane crash;
10                c.     An assistant coach [actually a trainer in Eden], a subset
11                       of soccer players, a trainer/nurse, and the head coach’s
12                       kids survive the plane crash and are forced to brave a
13                       harsh, isolated area;
14                d.     The survivors form factions, leading to internal conflict
15                       and power struggles;
16                e.     The psychological toll of isolation, desperation, and
17                       breakdown of societal norms sets in [and cliques form];
18                f.     Cult-like behavior arises with the emergence of a
19                       charismatic, demagogic leader who influences the
20                       group’s behavior in derogation of established social
21                       norms;
22                g.     Characters discover wreckage of previous expeditions in
23                       the isolated location;
24                h.     Characters discover a cache of [unusable] goods;
25                i.     Teammates sneak off and conspire in Machiavellian
26                       ways;
27                j.     An ill-advised escape [is] attempt[ed] [];
28
                                                   3     Plaintiff’s Response in Opposition to
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 1                 k.     Moral decay sets in as the characters struggle to survive
 2                        and are pushed to make moral compromises and morally
 3                        dubious decisions;
 4                 l.     A character commits suicide;
 5                 m.     Cannibalism arises in both stories as a last resort to
 6                        survive [, though is only acted upon in Yellowjackets];
 7                        and
 8                 n.     The surviving characters are rescued by an outside force
 9                        [presumably in Yellowjackets as there is a present-day
10                        storyline].
11   Compl., 9:27-10:22. This set of similar scenes and dialogue provides an overview
12   of the selection and arrangement of elements that are shared between the two
13   works: Eden in toto and Yellowjackets’s “survival” timeline.
14          8.     Defendants’ Motion ignores the large number of overt similarities and
15   cites to cases applying the extrinsic test in which courts analyzed individual
16   elements allegedly shared between works. And although the law claims the
17   extrinsic test is a question of law for the judge, in reality, it is a subjective test
18   wherein a court performs the same analysis as a jury, just cabined within eight
19   elements: (a) themes, (b) plot, (c) setting, (d) characters, (e) mood, (f) pace, (g)
20   sequence of events, and (h) scene/dialogue similarities. This is of course why
21   Plaintiff explicitly laid out such elements in its Complaint. See id. at ¶¶ 21-35.
22   However, Defendants’ focus on the extrinsic test is not a complete picture of the
23   caselaw because it excludes reference to the allegations in the Complaint, revealing
24   shared elements, in selection and arrangement, between the works in all eight
25   categories. Id. at 6:12-11:16.
26          9.     Accordingly, Plaintiff asks this Court to deny Defendants’ Motion and
27   allow this case to proceed on the merits.
28
                                                      4      Plaintiff’s Response in Opposition to
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 1                                            II.      LEGAL STANDARD
 2            10.      A complaint must contain “a short and plain statement of the claim
 3   showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). “Dismissal
 4   under Rule 12(b)(6) is appropriate only where the complaint lacks a cognizable
 5   legal theory or sufficient facts to support a cognizable legal theory.” Mendiondo v.
 6   Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008). To survive a Rule
 7   12(b)(6) motion, a plaintiff need only plead “enough facts to state a claim to relief
 8   that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
 9            11.      A claim is facially plausible when its “factual content … allows the
10   court to draw the reasonable inference that the defendant is liable for the
11   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In reviewing a
12   complaint’s plausibility, courts “accept factual allegations in the complaint as true
13   and construe the pleadings in the light most favorable to the nonmoving party.”
14   Smith v. Intel Corp., --- F.Supp.3d ----, 2024 WL 3834706, at *4 (N.D. Cal. 2024)
15   (quoting Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th
16   Cir. 2008)).
17                                 III.     ARGUMENTS AND AUTHORITY
18            12.      “[T]he Ninth Circuit has cautioned that ‘[s]ummary judgment is not
19   highly favored on questions of substantial similarity in copyright cases.’” Smith v.
20   AMC Networks, Inc., No. 18-CV-03803, 2019 WL 402360, at *6 (N.D. Cal. Jan.
21   31, 2019) (quoting L.A. Printex Indus., Inc. v. Aeropostale, Inc., 676 F.3d 841, 848
22   (9th Cir. 2012)).1 “A fortiori, this same limitation applies to a motion to dismiss.”
23
24
     1
       “The Ninth Circuit has held that ‘[g]enerally, the scope of review on a motion to dismiss for failure to state a claim
25   is limited to the contents of the complaint.’” Smith v. AMC Networks, Inc., 2019 WL 402360, at *6 (quoting Marder
     v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006)). “Here, what Defendants essentially seek is summary judgment because
26   they stray beyond the four corners of the complaint and into factual disputes over the similarities and differences
     between [the works, including whether certain elements of [Plaintiff’s work] are protectable under copyright law.”
27   Id. “Moreover, [] Defendants’ request for judicial notice that certain concepts are generic further demonstrates that
     Defendants’ motion[ is] essentially motions for summary judgment.” Id. (declining to apply extrinsic test at pleading
28   stage, finding “most prudent course of action is to follow Ninth Circuit precedent and hold in abeyance the issue of
     substantial similarity until further factual development of the record, including expert testimony”).
                                                                     5        Plaintiff’s Response in Opposition to
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 1    Id. (quoting Minx Int’l, Inc. v. Around the World Apparel, Inc., 2016 WL 7496745,
 2    at *2 (C.D. Cal. July 29, 2016)).
 3             13.      Dismissal of a copyright infringement claim for want of substantial
 4    similarity “is warranted only if, ‘as a matter of law[,] the similarities between ...
 5    works are only in uncopyrightable material or are de minimis.’’”2 Zindel v. Fox
 6    Searchlight Pictures Inc., 815 F. App’x 158, 160 (9th Cir. 2020) (quoting Patry on
 7    Copyright § 9:86.50 (2020)). “It must be … that reasonable minds could not differ
 8    on the issue of substantial similarity.” Id. (citing L.A. Printex, 676 F.3d at 848)).3
 9    A.       Eden and Yellowjackets’s “survival” timeline are substantially similar.
10             14.      Though almost all elements of Eden were copied into the “survival”
11    timeline of Yellowjackets, Defendants argue that a portion of the similarities noted
12    in the Complaint are, in fact, dissimilar or unprotectable. Such arguments belie the
13    substantially similar selection and arrangement of the same original elements in
14    both works—with the differences in Yellowjackets being mere inversions or slight
15    alterations of the elements in Eden. See Compl., ¶¶ 21-33.
16             15.      Defendants’ Motion should be denied because it fails to take into
17    consideration the number of shared elements between the works described in
18    Plaintiff’s Complaint, the works’ shared selection and arrangement of such
19    elements, and that such shared elements show an overall picture that the works are
20    substantially similar. See Compl., 6:12-11:16.
21    2
        “Although some district courts have opined that some concepts are generic on motions to dismiss, … these non-
      binding cases … offer little analysis.” Id. (citing Zella, 529 F. Supp. 2d at 1130 (involving television shows); Cline
22    v. Reetz-Laiolo, 329 F. Supp. 3d 1000, 1015 (N.D. Cal. 2018) (involving a novel and a screenplay); Silas v. Home
      Box Office, Inc., 201 F. Supp. 3d 1158, 1164, 1166 (C.D. Cal. 2016) (involving a screenplay and a television series);
23    Heusey v. Emmerich, 2015 WL 12765115, at *1 (C.D. Cal. Apr. 9, 2015) (involving screenplays); DuckHole, 2013
      WL 5797279, at *1–2 (involving a film treatment and a television series)). “All these cases offer little justification
24    for why certain elements are generic or scenes-a-faire, and thus unprotectable under copyright law.” Id. Thus, as in
      Smith, the Court should “find these cases unpersuasive” and decline to follow them. Id.
25    3
        See also Zindel, 815 F. App’x at 159 (instructing district courts to be “cautious” before dismissing for lack of
      substantial similarity))l Astor-White v. Strong, 733 F. App’x 407, 409–10 (9th Cir. 2018) (Wardlaw, Cir. J.,
26    concurring) (proclaiming that resolving substantial similarity “should be even more disfavored on a motion to
      dismiss” than on motion for summary judgment); Segal v. Segel, No. 20-CV-1382, 2022 WL 198699, at *13 (S.D.
27    Cal. Jan. 21, 2022) (“Because analytical dissection and substantial similarity between protected elements of works
      are ‘usually extremely close issue[s] of fact,’ the Ninth Circuit disfavors dismissals on the ground of substantial
28    similarity at the Rule 12(b)(6) stage.”); Smith, 2019 WL 402360, at *4–7 (“[B]ased on the record[,] the Court cannot
      conduct the analysis to separate the unprotectable elements from the protectable elements in [Plaintiff’s work].”).
                                                                     6       Plaintiff’s Response in Opposition to
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 1          16.    Beyond the scene similarities noted above, see supra ¶7, Plaintiff
 2    pleaded similarities in plot, themes, desolate settings, character types, moods,
 3    pacing, and sequencing of events—as the “survival” timeline of Yellowjackets fully
 4    incorporates those original elements from Eden. See Motion, 6:12-9:25.
 5    B.    Defendants do not consider all elements as a whole, ignoring the
 6          selection and arrangement of such original elements in both works.
 7          17.    Defendants’ Motion merely attempts to pick apart some of the noted,
 8    shared elements between the works in isolation, without considering the selection
 9    and arrangement of such original elements in both works as a whole as the law
10    requires. Though Plaintiff disputes that the elements of the works Defendants cite
11    are unprotectable, the caselaw states, “[a] combination of unprotectable elements is
12    eligible for copyright protection ‘if those elements are numerous enough and their
13    selection and arrangement original enough that their combination constitutes an
14    original work of authorship.’” Malibu Textiles, Inc. v. Label Lane Int’l, Inc., 922
15    F.3d 946, 952 (9th Cir. 2019) (quoting Satava v. Lowry, 323 F.3d 805, 811 (9th
16    Cir. 2003)). See also WMTI Productions, Inc. v. Healey, No. CV2002726, 2023
17    WL 5506712, at *3 (C.D. Cal. July 13, 2023) (“Plaintiffs need not have incanted
18    any magic words, like ‘selection’ or ‘arrangement’; these allegations suffice.”).
19    Here, because Plaintiff presented enough similarities of elements between the
20    works, whether certain individual elements are protectable or not is irrelevant
21    (again, Plaintiff disputes the elements are unprotectable).
22          18.    Defendants’ approach of separating each similarity into separate
23    categories, which they claim are basic while wrongly discounting the amount of
24    striking similarities Plaintiff presented thus, when taken as a whole, connects the
25    “basic” ideas that Defendants note into substantially similar plots. For example,
26    Defendants state “the idea of portraying the struggle to survive after a plane crash
27    in a remote and desolate place is not in itself protectable.” Motion, 12:24-25. Be
28    that as it may, Defendants’ argument obscures their failure to cite any other soccer-
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 1    based cinematic work, not just a “sports team” that must undergo this survival
 2    ordeal, nor a rugby team like in the real-life scenario, but a highly skilled soccer
 3    team, where many similar characters endure similar hardships.
 4             19.      The similar characters in both works include an adult figure in the
 5    trainer Connie in Eden and the assistant coach Ben in Yellowjackets, “a subset of
 6    soccer players, a trainer/nurse[ character], and the head coach’s kids survive the
 7    plane crash and are forced to brace a harsh, isolated area.” Compl., 10:3-5. These
 8    similar characters (including team captains, nurse-type figure, coach’s children)—
 9    who struggle to survive in a remote location wherein the survivors discover
10    evidence of prior plane crashes, send teammates out to find help, and struggle over
11    minimal resource—are merely gender swapped.
12             20.      None of the similar works Defendants proffer involve a soccer team—
13    with the only work involving a sports team being Alive (1993)—though that was an
14    adaption of the real-life story of a rugby team’s plane 1972 crash into the Andes
15    mountains. And Alive does not contain numerous other plot elements that Eden and
16    Yellowjackets share, such as finding evidence of prior expeditions or crashes and
17    devolving into violent Machiavellian groups. Defendants proffer no other words
18    about a plane, traveling to a championship tournament, crashing in a desolate area
19    with the same general set of characters surviving and forming factions that displace
20    the soccer team captain’s control and result in physical confrontations.
21             21.      Though Defendants’ examples share some elements,4 none of those
22    examples follow the same general plot presented in Eden and Yellowjackets of a
23    skilled soccer team going through all of the listed events in a similar order.5 And
24    4
        (“harsh weather” that forces them “to make difficult choices and further pushes them to their limits,” “hope of
      rescue diminishes” among the survivors that “lead[s] to feelings of despair,” and, when confronted with “’harsh
25    conditions and the struggle for survival,’ the survivors in Alive and Lost are pushed to their limits, ‘causing them to
      make dubious moral choices,’” including resorting to cannibalism, murder, and suicide [Motion, 13:8-16]).
26    5
        Defendants are right to note “’the psychological toll of isolation, desperation, and the breakdown of societal
      norms,’ are all unprotectable concepts, and ones common to the survival genre,” with “Lord of the Flies (1963,
27    1990) [being] the paradigmatic example of a survival story in which a group of survivors form rival ‘factions,’
      resulting in ‘violent confrontations’ and ‘[m]oral decay.’” Motion, 14:11-15 (citing Compl. ¶¶ 22, 33(e)). But again,
28    that is only one of the many shared elements of Eden and Yellowjackets. These two works also incorporate skilled
      soccer teams going through substantially similar ordeals after their planes crash in remote areas on the way to or
                                                                     8        Plaintiff’s Response in Opposition to
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 1    though Defendants claim this shared element, a highly skilled soccer team—with a
 2    similar subset of survivors—having to survive after a plane crash in a desolate area
 3    while traveling to or from a top-level tournament, is “neither original nor unique to
 4    Eden,” Defendants point to no other works with this specific plot element. Such an
 5    omission implies the element is original and should be treated as such, and merely
 6    cobbling a variety of works together that share elements does not detract from the
 7    fact that the works share those elements in a similar order.
 8            22.      Next, Defendants argue, “[t]he Copyright Act does not protect ideas
 9    or elements that naturally flow from such ideas as those presented here (so-called
10    scenes a faire).” Motion, 1:20-21. This is Defendants’ big sleight of hand to
11    distract from the overarching number of similarities—downplaying (or outright
12    ignoring) the pleaded similarities—by focusing on only some noted elements on an
13    individual basis. The scenes Defendants describe as scenes a faire are in fact
14    shared amongst both films (as Yellowjackets fully incorporates the key plot
15    elements of Eden into its survival timeline) to such a degree to show a similar
16    selection and arrangement.
17            23.      Defendants also argue that any similarities between the works are “not
18    expression” and arise from “perceived shared abstract ideas … and stock elements
19    that flow naturally from those ideas” such that they are not substantial. Motion,
20    2:5-14. With its conclusory statement that all the admitted similarities are abstract
21    ideas and flowing elements, Defendants refrain from addressing each similar
22    element and so conveniently overlook the substantial number of shared similarities
23    between the works. Compl., ¶¶ 21-35 (identifying eight sequence of events
24    similarities and fourteen scene similarities in and comparing similarities between
25    the themes, plot, setting, characters, mood, and pace).
26    ///
27
28    from a top-level tournament. Defendants cannot merely note that there are shared elements in many other films and
      ignore that Eden and Yellowjackets share them all.
                                                                   9       Plaintiff’s Response in Opposition to
                                                                                 Defendants’ Motion to Dismiss
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 1             24.      In fact, the ideas expressed by Eden are not abstract. To suggest as
 2    much, Defendants invert specific plot elements to claim substantial differences that
 3    appear to be calculated to avoid infringement without departing from the elements
 4    of the copyrighted work. Yellowjackets merely changes the gender of most
 5    characters (the team and the coach’s children), the type of desolate area the team
 6    crashes in (hot versus cold), and the age of the players (from professional to high
 7    school). Mere inversions of genders and settings with slight age reductions are not
 8    substantial differences but surface level changes that do not obscure substantially
 9    similar “survival” timelines and plot elements from a reasonable viewer.6
10             25.      Defendants’ Motion, in failing to consider the similarly pleaded
11    selection and arrangement of all the substantially similar elements between Eden
12    and Yellowjackets, should thus be denied.
13    C.       Defendants’ self-serving description of the works omits similarities.
14             26.      Defendants deceptively describe the works, taking care to more fully
15    describe the plot of Yellowjackets and leave out the similar elements in Eden.
16             27.      Defendants first describe “Eden [as] is a somber, straightforward
17    survival thriller” (Motion, 3:2), and “Yellowjackets [as] is a survival drama about a
18    New Jersey high-school girls’ soccer team that survives a plane crash in the remote
19    Canadian wilderness. But it is also a darkly comedic psychological thriller and
20    gory mystery-horror.” Motion, 4:15-17. Though Defendants’ note both works are
21    survival thrillers, they willfully ignore Plaintiff’s pleadings about Eden’s
22    “moments of dark humor and witty dialogue,” Compl., 8:18-19, that each
23    “Champion soccer team’s flight crashes in remote area,” id., 10:1, and that, “[t]he
24    works blend mystery, suspense, and psychological drama.” Compl., 9:3.
25
26
      6
        See, e.g., Jarvis v. K2 Inc., 486 F.3d 526, 532 (9th Cir. 2007) (ads derivative of original images “delivered … in
27    one form” and then “subsequently used … in a quite different (though still recognizable) form” in the ads); ITC
      Textile Ltd. v. Wal-Mart Stores Inc., No. CV122650, 2015 WL 12712311, at *5 (C.D. Cal. Dec. 16, 2015)
28    (“[Modifications are not sufficient to avoid infringement in a direct copying case [because] the fact that the final
      result of defendant’s work differs from plaintiff’s work is not exonerating.”).
                                                                    10        Plaintiff’s Response in Opposition to
                                                                                    Defendants’ Motion to Dismiss
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 1             28.      Defendants do point out a key difference between the works:
 2    “Throughout each episode, the wilderness survival plotline is intercut with the
 3    present-day” surviving characters reflecting on their ordeal. Motion, 5:4-5, 17:27-
 4    18:2. That said, the entire “survival” timeline is copied from Eden, just with the
 5    inversions noted by Plaintiff. The “survival” timeline of Yellowjackets clearly
 6    incorporates the same selection and arrangements of elements as Eden, which is
 7    still a violation of copyright law. See, e.g., Hall v. Swift, No. CV 17-6882, 2021
 8    WL 6104160, at *4 (C.D. Cal. Dec. 9, 2021) (denying motion for summary
 9    judgment absent “contrary evidence on the issue of originality in a protectable
10    selection and arrangement”).
11             1.       Eden’s plot is substantially similar to that of Yellowjackets.
12             29.      Defendants describe the aftermath of the crash in Yellowjackets as,
13    “[m]uch of the team survives, including team captain Jackie, her best friend
14    Shauna (secretly pregnant with Jackie’s boyfriend’s baby), headstrong Taissa,
15    angsty Natalie, overeager equipment manager Misty, and Assistant Coach Ben, the
16    only surviving adult. Their head coach dies, but his two teenage sons Travis and
17    Javi survive.” Motion, 4:24-28. This is substantially similar to Eden, where the
18    head coach dies, his two daughters survive the crash, along with 13 other people,
19    including a subset of players and the trainer.7 This demonstrates the direct gender
20    inversion of the surviving characters in each work.
21             30.      It is true that the escape attempt in Eden led to a rescue while the
22    escape attempts in Yellowjackets end in failure. Motion, 5:18-20, 17:6-18. Yet the
23    Yellowjackets scene is still like that in Eden where two players depart on the life
24    raft. The only difference—that the Yellowjackets player dies while the two Eden
25    players find help—is explained by Yellowjackets being a television series with two
26
27    7
        See, e.g., Compl., ¶ 25 (“Slim (a talented soccer player and the captain of the team), Markese (a skilled player who
      is often overshadowed by others), Arnie (a troubled but talented soccer player who acts impulsively), Andy (a player
28    confronted with the trials of leadership, survival, and moral dilemmas), [] Connie (the trainer, a nurse-like
      character), [and] Andreas (a mysterious, complex, and troubled character who struggles with demons”).
                                                                   11        Plaintiff’s Response in Opposition to
                                                                                   Defendants’ Motion to Dismiss
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 1    timelines that must extend the rescue as long as the show airs. In other words, it is
 2    clear that the Yellowjackets group will be saved—it is just unclear how.
 3          31.    Defendants argue that “[h]unger drives the girls to madness: for
 4    example, pregnant Shauna talks to Jackie’s corpse as if she is still alive” and
 5    “[e]ventually, the girls succumb to hunger and eat Jackie’s corpse,” which “Coach
 6    Ben watches with horror and flees. That night, the cabin catches fire, leaving the
 7    survivors huddled in the cold with no shelter to brave the remainder of the winter.”
 8    Motion, 7:6-16. This moment, when Coach Ben escapes the group and goes on to
 9    live in a cave, though not identical, is similar to the experience of the trainer
10    Connie in Eden. Similarly in Eden, Connie escapes the group by committing
11    suicide after the “psychological toll of isolation, desperation, and breakdown of
12    societal norms sets in.” Compl., ¶33.
13          32.    Defendants’ argument—that, “[a]lthough after Felix’s death, the
14    remaining survivors split into two opposing factions, Plaintiff’s attempt to
15    characterize this tribal fracturing among the survivors as ‘cult-like behavior’ is
16    nothing more than scenes a faire (see Section III.C.1.a) and, moreover, does not
17    accurately identify a similarity between the works” (Motion, 17:22-26)—wrongly
18    discounts the fact that in Eden, Andreas leads a group of people who are driven to
19    embrace a “survival of the fittest” attitude, killing other survivors, just like in
20    Yellowjackets, where Lottie leads a group to hunt and kill Javi.
21          33.    Further, Defendants argue, “[i]n Eden, none of the survivors engage in
22    cannibalism; in fact, cannibalism never occurs and is never mentioned or
23    suggested.” Motion, 16:1-2. This is untrue, in that Eden clearly alludes to
24    cannibalism at multiple points, though it does not actually occur in the film. Eden
25    alludes to cannibalism in the scenes involving Andreas, who becomes more
26    animalistic throughout the film, such as in the following scenes:
27          --A CONFLAGRATION OF OVERLAPPING VOICES. An
28          argument at a tipping point with THE INJURED noticeably absent...
                                                    12      Plaintiff’s Response in Opposition to
                                                                  Defendants’ Motion to Dismiss
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 1                ANDREAS
 2                       -I’m saying its the only way to
 3                       make what we have last a little
 4                       longer-
 5                CONNIE
 6                       I know exactly what you’re saying
 7                       and I’m saying it’s ridiculous-
 8                FELIX
 9                       It’s barbaric.
10                PATTON
11                       These aren't just random people,
12                       we’re talking about killing our
13                       friends.
14    See Eden, 00:27:20-00:27:58.
15          WIDE ON the open beach. From opposite ends of the frame - SLIM
16          and ANDREAS walk towards each other. Not another soul in sight.
17          They arrive, face to face. ON ANDREAS, gaunt, sunken eyes.
18          A long silence, until-
19                SLIM
20                       How long since you’ve eaten?
21                ANDREAS
22                       ...What day is it?
23                       (beat)
24                       You ever get to where all the days
25                       just start bleeding together? What
26                       you did today feels like it
27                       happened yesterday, and what
28
                                                  13       Plaintiff’s Response in Opposition to
                                                                 Defendants’ Motion to Dismiss
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 1                         happened yesterday... you can’t
 2                         remember.
 3                  SLIM
 4                         Yeah.
 5                         You could come back. There’s food.
 6                  ANDREAS
 7                         Come back?
 8            For the slightest beat, ANDREAS looks as if he’s considering.
 9                  ANDREAS
10                         I know what you’re saying and I
11                         know what it means... but it’s not
12                         going to happen. Not like you
13                         think.
14            ANDREAS looks off. Distant.
15    See Eden, 01:12:36-01:13:32. These scenes show that Andreas is becoming more
16    and more animalistic as Eden progresses, leading to violent encounters with other
17    survivors that culminates with him running into the jungle when the rest of the
18    team is saved. This is similar to Yellowjackets’ Coach Ben running off into the
19    wild.
20            34.   Defendants also argue that Plaintiff’s claim that each work includes
21    suicide is incorrect. See Motion, 16:15-20. Defendants’ description is again a
22    mischaracterization. Like Eden, Yellowjackets also contains a character who falls
23    off a cliff: Crystal/Kristen. In Season 2, Episode 5 (“Two Truths and a Lie”), she
24    falls off a cliff, just like Connie in Eden. Further, Yellowjackets has not completed
25    its story, and Ben, who is an analogous character to Connie, does not appear in the
26    current timeline, leading viewers to assume that, like Connie, he dies in the
27    wilderness.
28
                                                   14      Plaintiff’s Response in Opposition to
                                                                 Defendants’ Motion to Dismiss
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 1          35.    Defendants next attempt to differentiate the “[c]haracters
 2    discover[ing] a cache of goods,” from “wreckage of previous expeditions,” despite
 3    those being linked in both films. Motion, 16:21-17:5. These elements cover the
 4    same strikingly similar incidents, such that in both works, the characters discover
 5    evidence that people were inhabiting the desolate environments before them by
 6    finding materials that were unusable, but shelter that was usable. And again, both
 7    works still share escape attempts but, because Yellowjackets is ongoing, we do not
 8    know how they will be saved—though we know they will based on the “current”
 9    timeline.
10          36.    Defendants’ argument—that, “[a]lthough after Felix’s death, the
11    remaining survivors split into two opposing factions, Plaintiff’s attempt to
12    characterize this tribal fracturing among the survivors as ‘cult-like behavior’ is
13    nothing more than scenes a faire (see Section III.C.1.a) and, moreover, does not
14    accurately identify a similarity between the works” (Motion, 17:22-26)—unduly
15    discounts the fact that in Eden, Andreas leads a group of people who are driven to
16    embrace a “survival of the fittest” attitude, just like in Yellowjackets, where Lottie
17    leads a group to hunt Javi and eat him to survive in the desolate wilderness.
18          37.    Accordingly, the proffered scenes from Yellowjackets are substantially
19    similar to scenes in Eden, another reason that the Motion should be denied.
20          2.     The characters in both works are similar.
21          38.    Defendants’ arguments are based on the characters in Eden essentially
22    being less defined than those in Yellowjackets. Though Eden is a film that does not
23    have enough time to devote to character development compared to a multiple
24    season show like Yellowjackets, the fact that the characters are still substantially
25    similar is not negated by the infringing work’s increased depth.
26          39.    Defendants attempt to distinguish the trainer and nurse-type
27    characters: “[a]s the girls scramble to pull their teammates from the wreckage and
28    salvage, Misty, a relentlessly teased misfit, draws on her self-taught knowledge of
                                                   15      Plaintiff’s Response in Opposition to
                                                                 Defendants’ Motion to Dismiss
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 1    first aid to triage the wounded” (Motion, 4:28-5:2), “[a]nd putting aside the fact
 2    that a ‘trainer’ and a ‘nurse’ are vastly different character archetypes, in Eden,
 3    Connie, the adult male team trainer, expressly disclaims his ability to care for the
 4    injured. Ex. 1 at -:11:50.” Motion. 16:4-9. In fact, both works contain such a nurse-
 5    like figure who—whether he wants to or not—aids the wounded of the wreckage,
 6    with Eden containing a trainer, Connie. Though Connie does state, “[he’s] just a
 7    trainer, he needs a hospital, he needs real doctors” (see Eden, 00:11:50-0012:00),
 8    the trainer still proceeds to care for the injured, including Kennefick, Sevy, Slim,
 9    Rosaro, and Stefan. Further, as the only adult, Connie is a misfit. Plaintiff’s
10    characterization of the trainer as a nurse-type character is not misplaced because
11    that is the same role that Misty plays in Yellowjackets, as she has first aid training,
12    not just skills, and tends to the wounded like Connie.8
13             3.       The mood, theme, and character are similar.
14             40.      Defendants attempt to differentiate the moods and themes of
15    Yellowjackets from Eden focuses on how Yellowjackets’s storyline adds
16    complexity because it is based in the present. Motion, 19:5-8. This cannot change
17    the fact that the survival-based storyline of Yellowjackets is substantially similar to
18    Eden. Eden is a film and simply does not have nearly as much time to devote to
19    character development as a multiple season show like Yellowjackets. Defendants’
20    arguments are based on the characters in Eden essentially being somewhat less
21    defined than the characters of Yellowjackets. This does not negate the fact that the
22    mood, themes, and characters are still substantially similar.
23             4.       The setting and pace of the works are substantially similar.
24             41.      Again, Defendants focus on the fact that Yellowjackets incorporates
25    two timelines into its story while ignoring that the survival timeline shares the
26
      8
        Defendants also argue there is no “assistant coach”-type character in Eden who survives. Motion, 16:4-7. Though
27    the character in Eden is not an assistant coach, Connie, as the adult survivor, still provides advice to the surviving
      players, just like the assistant coach Ben in Yellowjackets. Both Ben and Connie also appear to not survive in their
28    respective works, with Connie committing suicide by falling off a cliff in Eden, and Ben not appearing in the present
      timeline of Yellowjackets.
                                                                   16        Plaintiff’s Response in Opposition to
                                                                                   Defendants’ Motion to Dismiss
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 1    setting and pace of Eden. See Motion, 25:11-13. The survival timeline in
 2    Yellowjackets takes place in a desolate area, just like Eden, after a plane carrying a
 3    successful soccer team crashes there. The survival timeline in Yellowjackets also
 4    shares the pacing of Eden, “balance[ing] slower, character-driven moments with
 5    more intense, plot-driven sequences,” which—despite Defendants claims that such
 6    scenes are generic—reveals both works rely on the same setting and pace.
 7          5.     The similarities in dialogue between the works can be expanded
 8                 upon repleading.
 9          42.    The caselaw shows that both scenes and dialogue, and not just scenes,
10    are to be compared. And though Plaintiff did not plead specific portions of the
11    dialogue of the works that are copied, Plaintiff did plead a list of similarly
12    expressed dialogue areas, as well as scenes that are similar. Plaintiff pleaded:
13                 A non-exhaustive list of some of the specific scene or dialogue
14          similarities between each work, without limitation, include:
15                 a.     Champion soccer team’s flight crashes in remote area;
16                 b.     Many players die in the plane crash;
17                 c.     An assistant coach [actually a trainer in Eden], a subset of
18                        soccer players, a trainer/nurse, and the head coach’s kids
19                        survive the plane crash and are forced to brave a harsh, isolated
20                        area;
21                 d.     The survivors form factions, leading to internal conflict and
22                        power struggles;
23                 e.     The psychological toll of isolation, desperation, and breakdown
24                        of societal norms sets in;
25                 f.     Cult-like behavior arises with the emergence of a charismatic,
26                        demagogic leader who influences the group’s behavior in
27                        derogation of established social norms;
28
                                                   17      Plaintiff’s Response in Opposition to
                                                                 Defendants’ Motion to Dismiss
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 1                g.    Characters discover wreckage of previous expeditions in the
 2                      isolated location;
 3                h.    Characters discover a cache of [unusable] goods;
 4                i.    Teammates sneak off and conspire in Machiavellian ways;
 5                j.    An ill-advised escape attempt fails;
 6                k.    Moral decay sets in as the characters struggle to survive and are
 7                      pushed to make moral compromises and morally dubious
 8                      decisions;
 9                l.    A character commits suicide;
10                m.    Cannibalism arises in both stories as a last resort to survive; and
11                n.    The surviving characters are rescued by an outside force
12                      [presumably in Yellowjackets as there is a present-day
13                      storyline].
14    Compl., 9:27-10:22.
15          43.   Further, Plaintiff pleaded that the works shared similar dialogue that:
16                a.    Expresses desperation and fear (as characters grapple with the
17                      harsh realities of their situation, they often voice their fears and
18                      anxieties);
19                b.    Reveals internal conflict (characters often engage in internal
20                      monologues or dialogue with themselves, exploring their moral
21                      dilemmas and psychological struggles);
22                c.    Challenges authority and societal norms (as social order breaks
23                      down, characters question traditional values and norms, leading
24                      to confrontations and power struggles);
25                d.    Justifies extreme measures (characters may justify their actions,
26                      even if they are morally questionable, by appealing to the need
27                      to survive); and
28
                                                  18     Plaintiff’s Response in Opposition to
                                                               Defendants’ Motion to Dismiss
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 1                     e.       Contemplates the meaning of life and death (characters ponder
 2                              the fragility of life and the inevitability of death, resulting in
 3                              philosophical discussions);
 4    Compl., 11:3-11:16. Such similarities must not be discounted merely because
 5    Defendants studiously ignored them.
 6    D.      Defendants cite caselaw inapplicable to the facts.
 7            44.      “As ‘general plot ideas are not protected by copyright law,’ the
 8    extrinsic test compares ‘the actual concrete elements that make up the total
 9    sequence of events and the relationships between the major characters.’ Berkic v.
10    Crichton, 761 F.2d 1289, 1293 (9th Cir. 1985).” Motion, 12:13-16. Berkic draws
11    distinctions between scenes a faire and concrete elements of the plot. It
12    characterizes “[b]oth [works as] deal[ing] with criminal organizations that murder
13    healthy young people, then remove and sell their vital organs to wealthy people in
14    need of organ transplants,” before discussing that the presentation of the plot
15    differs entirely. Id. at 761 F.2d 1293–94. That case is inapposite to the facts at
16    hand. See also Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin, 952
17    F.3d 1051, 1074 (9th Cir. 2020) (“[A] copyright plaintiff may argue infringement
18    ... based on original selection and arrangement of unprotected elements.”).
19            45.      “[Moreover,] Ninth Circuit law is clear that ‘[t]he extrinsic test
20    requires analytical dissection of a work and expert testimony.’” Smith, 2019 WL
21    402360, at *6 (quoting Swirsky v. Carey, 376 F.3d 841, 845 (9th Cir. 2004). “Other
22    courts have denied motions to dismiss in copyright cases due to an insufficient
23    record.” Id.9 Here, the presentation of plots between Eden and the survival
24    timeline of Yellowjackets are substantially similar. The only differences between
25
26    9
        See Cabell v. Zorro Prods., Inc., 2017 WL2335597, at *8 (N.D. Cal. May 30, 2017) (denying motion to dismiss
      copyright allegations involving a musical script and audio performances because the “case lacks the kind of
27    comprehensive factual record and undisputed facts that would allow the court to apply the ‘extrinsic test’ at this
      stage”); French West, Inc. v. Macy’s Inc, 2013 WL 12133844, at *2 (C.D. Cal. Jan. 29, 2013) (denying motion to
28    dismiss copyright allegations absent “threshold understanding” of nature of design “and whether it incorporates any
      common themes of selection, coordination, and arrangement that are” unprotectable).
                                                                  19        Plaintiff’s Response in Opposition to
                                                                                  Defendants’ Motion to Dismiss
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 1    the survival aspects of the works are the genders of the characters and the setting—
 2    which are merely inverted from male to female and hot to cold.
 3    E.    This case should proceed to the discovery phase.
 4          46.    Defendants cite Rentmeester v. Nike for the proposition that discovery
 5    is not required in this case. 883 F.3d 1111, 1123 (9th Cir. 2018), overruled by
 6    Skidmore, 952 F.3d 1051. Despite Defendants’ claims that Rentmeester was
 7    overruled on other grounds, the ruling was based on the “inverse ratio rule,” which
 8    was in fact overruled. Skidmore, 952 F.3d at 1066 (“Because the inverse ratio rule,
 9    which is not part of the copyright statute, defies logic, and creates uncertainty for
10    the courts and the parties, we take this opportunity to abrogate the rule in the Ninth
11    Circuit and overrule our prior cases to the contrary.”). Rentmeester, a copyright
12    case concerning two photos on summary judgment, is less applicable here, a case
13    concerning most elements of a feature film being subsumed into a multi-season
14    television series.
15          47.    Despite Defendants announcing there is a single “unprotectable
16    concept” that Plaintiff alleges as its “primary alleged ‘similarity,’” Defendants fail
17    to identify what that concept could be. Motion, 12:5-7 (“Plaintiff’s primary alleged
18    ‘similarity’ between the two works is an unprotectable concept, and apart from
19    scenes a faire common to the survival genre, how this concept is expressed varies
20    drastically in each work.”). Such an argument again completely discounts
21    Plaintiff’s Complaint, which describes how Yellowjackets copied most elements of
22    Eden and merely inverted the genders of the characters, the desolate landscape, and
23    altered their ages at least in its “survival” timeline. ¶¶ 21-35. All the other plot
24    elements are congruous between the works, with the elements in Yellowjackets
25    merely spread across multiple seasons and episodes rather than a single film.
26    F.    In any event, Plaintiff should be granted leave to amend.
27          48.    “A dismissal without leave to amend is improper unless it is beyond
28    doubt that the complaint ‘could not be saved by any amendment.’” In re Fresh &
                                                    20      Plaintiff’s Response in Opposition to
                                                                  Defendants’ Motion to Dismiss
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 1    Process Potatoes Antitrust Litig., 834 F. Supp. 2d 1141, 1149 (D. Idaho 2011)
 2    (quoting Harris v. Amgen, Inc., 573 F.3d 728, 737 (9th Cir. 2009).10
 3             49.       As a result, if Defendants’ Motion is granted, Plaintiff should be
 4    afforded the opportunity to replead.
 5                                        IV.       CONCLUSION & PRAYER
 6             WHEREFORE, Plaintiff requests the honorable Court deny Defendants’
 7    Motion and grant Plaintiff any other deserved relief.
 8    Dated: February 24, 2025                                          Respectfully submitted,
 9
10                                                                           /s/ Anya Fuchs
                                                                        Anya Fuchs, Esq.
11                                                                      anya@anyafuchslaw.com
12                                                                      Charles M. Stam (pro hac vice filed)
                                                                        charles@thompsonstam.com
13
                                                                        Counsel for Plaintiff
14
15
16
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21
22
23    10
        “The Ninth Circuit has noted on several occasions ... that the Supreme Court has instructed the lower federal
      courts to heed carefully the command of Rule 15(a) by freely granting leave to amend when justice so requires.”
24    Marcus v. ABC Signature Studios, Inc., 279 F. Supp. 3d 1056, 1073 (C.D. Cal. 2017) (collecting cases) (citations
      omitted). “Courts may dismiss a claim ‘only if it appears beyond doubt that the plaintiff could prove no set of facts
25    in support of his claim which would entitle him to relief.’” Media.net Advert. FZ-LLC v. NetSeer, Inc., 156 F. Supp.
      3d 1052, 1059 (N.D. Cal. 2016) (quoting Cook v. Brewer, 637 F.3d 1002, 1004 (9th Cir. 2011)). “Courts should
26    grant the plaintiff leave to amend ‘if it appears at all possible that the plaintiff can correct the defect.’” Id. (quoting
      Crowley v. Bannister, 734 F.3d 967, 977 (9th Cir. 2013); Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) (en
27    banc)). See, e.g., Milkcrate Athletics, Inc. v. Adidas Am., Inc., 619 F. Supp. 3d 1009, 1021–22 (C.D. Cal. 2022)
      (“hesitant” court granted leave to amend second amended complaint “in the interest of caution” despite noting
28    “skeptic[ism]” that plaintiff would “be able to allege copyright or trade dress infringement in an amended
      complaint”).
                                                                      21         Plaintiff’s Response in Opposition to
                                                                                       Defendants’ Motion to Dismiss
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 1                                CERTIFICATE OF SERVICE

 2          I certify that I am over the age of 18 years and not a party to the within action; that
     my business address is 440 E. Huntington Drive, Suite 300, Arcadia, CA 91006; and that
 3   on this date I served a true copy of the document(s) entitled:
 4      - PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’
          MOTION TO DISMISS PLAINTIFF’S COMPLAINT
 5
     Service was effectuated by forwarding the above-noted document in the following
 6   manner:
 7
     [XX] VIA CM/ECF. I electronically served the above document(s) via CM/ECF on all
 8        parties opting for e-service and is available for viewing and downloading from the
          Court’s CM/ECF system.
 9
10         I certify that I am a member of the bar of this court.
11         Executed on February 24, 2025, at Emeryville, CA.
12
                                                            /s/ Anya Fuchs
13                                                         Anya Fuchs
14   Eden Film Production LLC. v. Lockjaw LLC, et al.
     USDC CACD Case No.: 2:24-cv-09851-DDP-SK
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